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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION



 Luminati Networks Ltd.,

                 Plaintiff,                               Civil Action No.
                                                        2: 19-cv-00395-JRG
                 V.
                                                             Lead Case
 Teso LT, UAB, Oxysales, UAB, and
 Metacluster LT, UAB,                                 FILED UNDER SEAL

                 Defendants.




                               OXYLABS' MOTIONS IN LIMINE



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                                         and Metacluster L T, UAB

 March 8, 2021
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        Oxylabs files these Motions in Limine, and respectfully requests that the Court preclude

 Luminati, its attorneys, and its witnesses from referencing or introducing any evidence relating

 to the following subjects before the jury or prospective jurors, unless and until Luminati ap-

 proaches the bench and obtains a ruling that the matter is permissible. Each of the subjects listed

 below is irrelevant to the issues involved in this case (see Fed. R. Evid. 401-402), or otherwise

 not admissible. Further, any probative value of the matters is far outweighed by their prejudicial

 effect (see Fed. R. Evid. 403).

 1.     Any reference to Oxylabs’ corporate reorganization or suggestion that the reorgani-
        zation was undertaken for any improper purpose

        In 2018, Oxylabs underwent a corporate reorganization whereby UAB Tesonet changed

 its name to UAB Teso LT (the entity that offers the accused residential proxy product) and “spun

 off” the accused Real Time Crawler product into a new entity named UAB Metacluster LT. Lu-

 minati filed this case in December 2019, and asserts infringement of three patents (“Asserted Pa-

 tents”) that issued in April 2019 (’319 patent and ’510 patent) and November 2019 (’614 patent).

 The reorganization is not relevant to any issue in this case. Nevertheless, in the past, Luminati

 has intimated that the reorganization was done for some improper purpose, or because of the past

 lawsuit styled Luminati v. Tesonet, 2:18-cv-00299-JRG (E.D. Tex.) (“Tesonet”)—neither of

 which is true. Regardless, the Oxylabs entities that sell the accused products are parties to this

 case, and there is thus no reason to reference the reorganization, and certainly no reason to sug-

 gest that it took place for an improper purpose.

 2.     Any suggestion that Oxylabs “copied” the Asserted Patents or “stole” Luminati’s
        technology

        The Asserted Patents issued well after Oxylabs introduced the accused products, and

 there is no evidence that Oxylabs copied the Asserted Patents or otherwise “stole” Luminati’s

 technology. Luminati’s “copying” allegations are irrelevant for several reasons. First, copying is

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 irrelevant to the infringement inquiry. Allen Eng’g Corp. v. Bartell Indus., Inc., 299 F.3d 1336,

 1351 (Fed. Cir. 2002). Second, Luminati’s allegations are irrelevant to secondary considerations

 of non-obviousness because no nexus exists between any alleged copying and the asserted claims

 of the Asserted Patents. Ohio Willow Wood Co. v. Alps S., LLC, 735 F.3d 1333, 1344 (Fed. Cir.

 2013) (requiring “nexus between the secondary indicia and the patented inventions” to exist, in-

 cluding regarding copying). Third, the allegations are irrelevant to willfulness, because the Court

 should grant Oxylabs’ summary judgment motion as to no willfulness (ECF No. 269) and there

 is no nexus between the limitations of the asserted claims and the alleged copying (e.g., such that

 there is no intent to infringe based on any alleged “copying”). Fourth, allegations of copying are

 extremely prejudicial as the primary purpose is to create an impermissible inference that the as-

 serted claims are tied to unclaimed features of Luminati’s residential proxy product. As such, the

 Court should bar Luminati from suggesting that Oxylabs “copied” the Asserted Patents or other-

 wise “stole” Luminati’s technology.

 3.     Any reference to or evidence concerning the website www.darksideofluminati.com
        or Oxylabs’ “Bust the Bully” prior-art campaign

        As explained in Oxylabs’ Motion for Summary Judgment on Luminati’s Non-Patent

 Claims (ECF No. 267), the Court should dismiss Luminati’s claims premised on the

 “darksideofluminati” website (a website raising certain questions concerning Luminati and its

 owner, EMK) and Oxylabs’ “Bust the Bully” prior-art campaign (a campaign referring to Lumi-

 nati as a “bully” and offering compensation for prior art concerning patents --
                                                                              not asserted in the

 current case). If this Court dismisses these claims, these subjects will be of no relevance to any

 issue in this case, and the only reason for Luminati to reference the subjects would be to attempt

 to prejudice Oxylabs before the jury.




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 4.      Any reference to or purported evidence that Oxylabs “hacked” Luminati

         Luminati has a Computer Fraud and Abuse Act and Defend Trade Secret Act claim prem-

 ised on its mistaken belief that Oxylabs “hacked” Luminati’s computer system. As explained in

 Oxylabs’ Motion for Summary Judgment on Luminati’s Non-Patent Claims (ECF No. 267), the

 Court should dismiss Luminati’s claims premised on such alleged “hacking” because Oxylabs

 did not “hack” Luminati’s system or otherwise improperly obtain any Luminati confidential in-

 formation. If the Court dismisses these claims, the Court should preclude Luminati from suggest-

 ing to the jury that Oxylabs “hacked” Luminati or otherwise improperly acquired any of Lumina-

 ti’s confidential information.

 5.      Any reference to or evidence concerning Oxylabs contacting former Luminati em-
         ployees in connection with the Tesonet case

         As part of its defense to the past Tesonet case, Oxylabs contacted a number of former

 Luminati employees in an attempt to seek information helpful to Oxylabs. The relevant e-mails

 noted                                                                                           .

 Luminati has suggested that these communications were improper. While the communications

 were proper, there is no doubt that the communications—which were largely unreturned or in-

 cluded responses not of any substance—are irrelevant to any issue in this case. Given this, the

 Court should preclude Luminati from referencing or introducing evidence concerning Oxylabs’

 communications with former Luminati employees.

 6.      Any reference to or evidence concerning Oxylabs’ owners’ past or present business-
         es or investments (other than the Oxylabs entities)

         Oxylabs’                                                .                  own and have

 owned other businesses and/or investments. Other than entities that operate under the “Oxylabs”

 brand (Code200, Oxysales, Teso, Metacluster, and Coretech), such other businesses and invest-

 ments are irrelevant to issues in this case, and the Court should preclude Luminati from offering

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 any evidence regarding the same.

 7.     Any comparison of the invalidity burden of proof to any other type of case that ap-
        plies a “clear and convincing evidence” burden of proof

        The Court will instruct the jury on the burdens of proof, including the clear-and-

 convincing burden of proof that applies to invalidity. The Court should not allow Luminati to

 attempt to improperly prejudice Oxylabs by arguing that invalidating a patent is akin to having

 someone civilly committed, taking away one’s children, etc. Accordingly, the Court should pro-

 hibit Luminati from referring to any other type of case that applies a clear-and-convincing bur-

 den of proof.

 8.     Any suggestion that Luminati invented “residential” proxies, or that the asserted
        claims cover “residential” proxy networks or systems with a large number of
        devices

        Luminati has argued that it allegedly invented a “residential” proxy network using “resi-

 dential” IP addresses that, in contrast to using “data center” or commercial IP addresses, allows

 for the implementation of “millions” of IP addresses that “belong to real people.” See, e.g., Op.

 Cl. Construction Br. at 4; Tesonet, ECF No. 195 at 2-4. Luminati has never been able to explain

 how this alleged “residential” proxy network is tethered to its patent claims. That is because a

 “residential” network is not in the claims. To begin with, the patents never once use the word

 “residential.” And, in any event, it is the asserted claims that control the infringement inquiry.

 The asserted claims do not require a “residential” network with millions of proxies. Indeed, the

 claims do not say anything about whether the proxies are residential or commercial, whether the

 proxies are owned by “real people” or businesses, or contain any other similar limitations. The

 Court should thus preclude Luminati from falsely suggesting to the jury that its claims cover all

 “residential” proxy networks or all proxy networks that use large numbers of proxies, because




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 any such suggestion would mislead the jury regarding the scope of Luminati’s claims.1

 9.        Any reference to or evidence concerning third-party products allegedly infringing
           the Asserted Patents

           Luminati’s employees apparently believe that any entity offering “residential” proxies in

 the marketplace infringes Luminati’s patents. But Luminati has no evidence in this case that any

 third-party product (“residential” or not) infringes. For example, Luminati’s technical expert did

 not disclose an opinion that any third-party product infringes, nor has Luminati otherwise com-

 pared its asserted claims to any third-party product, despite an Oxylabs interrogatory calling for

 this information. See Ex. 1

                                                          The infringement inquiry, of course, re-

 quires (i) the Court to construe the claims and (ii) a comparison of the properly construed claims

 to the accused device. See, e.g., Watts v. XL Sys., Inc., 232 F.3d 877, 880 (Fed. Cir. 2000). Be-

 cause Luminati’s fact witnesses are not competent to testify on infringement, and Luminati’s

 technical expert disclosed no opinion regarding third-party infringement, the Court should pre-

 clude Luminati from arguing or offering any evidence that any third-party product infringes.

 10.       Any reference to or evidence concerning EMK’s purchase of Luminati for an “en-
           terprise value” of $200 million or that the purchase was motivated by or valued the
           Asserted Patents

           Luminati is majority owned by a private-equity firm called EMK Capital. EMK acquired

 Luminati in 2017. The relevant press release states that the acquisition was “for an enterprise

 value of $200m.” The Court should exclude any purported valuation of Luminati or the Asserted

 Patents for several reasons. First, there is no evidence as to what value (if any) EMK placed on

 any of Luminati’s patents, much less the Asserted Patents. Second, the damages inquiry does not

 depend on a company’s valuation, and Luminati’s damages expert does not contend otherwise.

       1
         The Court should also not allow Luminati to use similar language to describe the scope of
 its claims, including by making any reference to its alleged invention of a “new network.”
                                                   5
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 Third, none of the Asserted Patents existed in 2017. Fourth, two of the three Asserted Patents

 were not originally owned by Luminati

                                                             ). For these reasons, any valuation of

 Luminati or the Asserted Patents based on EMK’s purchase of Luminati is irrelevant, and would

 only serve to prejudice Oxylabs.

 11.     Any attempt to “bolster” the U.S. Patent & Trademark Office or the Asserted Pa-
         tents

         The Court should preclude Luminati from attempting to “bolster” the U.S. Patent &

 Trademark Office or the patent examiner who examined the Asserted Patents. This would in-

 clude, for example, any suggestion or testimony that the Asserted Patents were subject to a “rig-

 orous” examination, are “long,” disclosed a “large” amount of prior art, or have “large” file his-

 tories. There is no evidence that the Asserted Patents underwent a “rigorous” examination (in

 fact, the evidence suggests the opposite), and any such argument would not only be irrelevant,

 but also unduly prejudicial to Oxylabs.

 12.     Any reference to or evidence concerning Oxylabs not obtaining or producing an
         opinion of counsel

         Oxylabs has not disclosed an opinion of counsel in this case. Whether Oxylabs did or did

 not obtain an opinion of counsel is of no relevance to any issue in this case and, in fact, cannot be

 referenced or argued pursuant to statute. See 35 U.S.C. § 298 (“The failure of an infringer to ob-

 tain the advice of counsel with respect to any allegedly infringed patent, or the failure of the in-

 fringer to present such advice to the court or jury, may not be used to prove that the accused in-

 fringer willfully infringed the patent or that the infringer intended to induce infringement of the

 patent.”).

 13.     Any question or argument designed to make Oxylabs invoke privilege

         The Court should preclude Luminati from asking any question or making any argument

                                                  6
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 designed to make Oxylabs invoke privilege. Invoking privilege before the jury would likely

 cause the jury to assume that Oxylabs was hiding something, and would do nothing other than

 prejudice Oxylabs’ case.

 14.       Any testimony from Luminati’s experts not disclosed within their expert reports

           Rule 26(a)(2)(B) required Luminati’s experts to provide a written report that contained “a

 complete statement of all opinions the witness will express and the basis and reasons for them”

 as well as “the facts or data considered by the witness in forming them[.]” Accordingly, the

 Court should preclude Luminati’s experts from testifying as to any opinion, fact, or data not

 properly disclosed in their expert reports.

 15.       Any attempt to introduce into evidence or to refer to any document written in a lan-
           guage other than English, including “machine” translations

           Many of the documents Oxylabs produced in this case were written in Lithuanian. Of

 course, US courts conduct proceedings in English,2 and it is unlikely that any juror could read or

 understand Lithuanian in any event. As such, the Court should not allow Luminati to introduce

 or comment on any documents written in Lithuanian. If Luminati obtained a properly certified

 translation of a foreign-language document, the document might be admissible. But Luminati has

 listed on its exhibit list numerous “machine” translations—none of which is admissible. The

 “machine” translations were provided in the Tesonet case pursuant to the parties’ agreement to

 provide one another with “machine” (i.e., computer-generated) translations of foreign-language

 documents. Such “machine” translations are not terribly good (and, in fact, in certain instances

 constitute complete mistranslations), and in any event, are neither translations made by an inter-

 preter nor not certified translations. See Fed. R. Evid. 604 (“An interpreter must be qualified and

       2
         United States v. Rivera-Rosario, 300 F.3d 1, 5 (1st Cir. 2002) (“It is clear, to the point of
 perfect transparency, that federal court proceedings must be conducted in English.”); 48 U.S.C. §
 864.

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 must give an oath or affinnation to make a hue ti·anslation."). Accordingly, th ey are not admissi-

 ble.

 16.       Any suggestion that Dr. U one's reasonable-ro
           low" because


           Luminati moved to sti·ike Dr. U gone' s reasonable-royalty opinion and argued th at his

 opinion was improper because the amount he proffered as a reasonable royalty was -



                                                 . But such amounts have no relevan ce to the rea-

 sonable-royalty inquny. 3 As such, the Comi should preclude Luminati from making this improp-

 er argument to th e jmy.

 17.       Any reference to any previous Daubert ruling involving Oxylabs' experts

           In Dr. Ugone's deposition, Luminati questioned him concerning two instan ces wherein

 comis precluded ce1iain of his opinions: the Contour and Sunoco cases where comis took issue

 with certain of Dr. Ugone 's opinions offered on behalf of patent holders in cases involving video

 cameras and butane, respectively.4 The mlings also appear on Luminati 's u-ial exhibit list (at

 PTX-412; PTX-413). The comis ' mlings in these cases have no relevance to Dr. Ugone 's opin-

 ions in the instant case, and inti·oduction of such mlings would serve only to unduly prejudice


       3
         See, e.g., Mahurkar v. C.R. Bard, Inc., 79 F.3d 1572, 1581 (Fed. Cir. 1996) (precluding
 "additional damages or a 'kicker' on top of a reasonable royalty because of heavy litigation or
 other expenses"); Meridian Mfg., Inc. v. C & B Mfg. , Inc. , 340 F. Supp. 3d 808, 847 (N.D. Iowa
 2018) ("[L]itigation costs are in elevant to the reasonable royalty consideration. The hypothetical
 reasonable calculation must occur before the litigation because litigation can 'skew the results'
 of the negotiation."); Island Intellectual Prop. LLC v. Deutsche Bank AG, 09-CV-2675, 2012
 WL 526722, at *11 (S .D.N.Y. Feb. 14, 2012) ("[P]laintiffs are precluded from asserting that a
 reasonable royalty should include plaintiffs' litigation expenses or from providing any evidence
 in fmi herance of such a theo1y .").
       4
        Contour Ip Holding, LLC, 17-CV-04738, 2021 WL 75666 (N.D. Cal. Jan. 8, 2021) and
 Sunoco Partners v. Powder Springs, 17-CV-1390 (D. Del. June 9, 2020) (ECF No. 547).

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 Oxylabs, waste time, and confuse the jmy .

 18.    Any reference to or evidence concerning this Court's April 8, 2020 ruling in Tesonet
        concerning Oxylabs' press releases relating to the conclusion of the Tesonet case

        In Tesonet, the Comi found fault with Oxylabs' March 2020 press releases concerning

 the resolution of the Tesonet case (see Tesonet, ECF No. 351) and required Oxylabs to take cer-

 tain steps including the issuan ce of a subsequent press release (id. )- which Oxylabs did (see

 Tesonet, ECF No. 354 at 3-5). Oxylabs ' March 2020 press releases and the Comi's related Order

 have no relevance to the issues in the instant case and reference to such subjects before the jmy

 would serve only to unduly prejudice Oxylabs.

 19.    -ference to or evidence concerning Oxylabs'


        About a year ago, Oxylabs



                             . ECF No. 202, Luminati's Mot. to De-Designate Dep. Testimony at

 2-4.                                                                         - it does not involve

 Oxylabs, and it ce1iainly does not involve any issue that the jmy would consider in this case. As

 such, the Comi should preclude Luminati from referencing                                    or sug-

 gesting to th e jmy th at anything untoward occmTed with respect to such discussions.

 20.    ~ t i o n that Oxylabs'
        -       or were otherwise improper

        Over a year ago, Oxylabs

                       . ECF No. 203, Luminati's Mot. to De-Designate Dep. Testimony at 2.

 Luminati suggests

                                                 . Id. at 3. Here again, Oxylabs submits that this is

 an issue between Luminati                                                                  have no


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 relevance to the instant case. Accordingly, the Court should preclude Luminati from arguing to

 the jury that Oxylabs’

                                                      .

 21.    Any suggestion or evidence that Luminati’s non-patent claims have caused
        Luminati any harm or damages

        Regarding Luminati’s non-patent claims, Luminati’s damages expert did not disclose a

 damages opinion, Luminati disclosed no damages in its mandatory disclosures, Luminati’s inter-

 rogatory responses did not disclose any damages, and Luminati’s Rule 30(b)(6) witness
                                                                                            -
                                       . See Oxylabs’ Mot. for Summary Judgment on Luminati’s

 Non-Patent Claims, ECF No. 267 at 2-3, 4 n.8, 7 n.13, 8 n.16. The Court should thus preclude

 Luminati from offering any suggestion or evidence that it suffered damages or harm concerning

 Luminati’s non-patent claims (to the extent that such claims survive summary judgment). See

 Fed. R. Civ. P. 37(b)(2)(A)(ii), (c)(1).

 22.    Any reference to or evidence concerning unasserted Luminati patents

        Luminati asserts three patents in this case. Other than the patent-at-issue in the Tesonet

 case, the Court should not allow Luminati to introduce evidence regarding Luminati’s unasserted

 patents, including those patents asserted against Oxylabs in the co-pending Code200 case (where

 the accused products are data center proxies). See Luminati v. Code200, 2:19-cv-00396-JRG

 (E.D. Tex.), ECF No. 26, Am. Compl. Whether Luminati owns many patents is not relevant to

 any issue in this case, and evidence concerning the number of patents held by Luminati would

 only serve to improperly prejudice the jury against Oxylabs.

 23.    Any testimony or evidence concerning motions filed by Oxylabs that were denied, or
        Oxylabs’ claims that were dismissed by the Court

        The Court denied Oxylabs’ Alice motion for judgment on the pleadings and dismissed

 Oxylabs’ conspiracy antitrust claim after finding that Luminati could not conspire with its related

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 entities because the entities did not have separate decisionmakers. ECF No. 196, 303. The Court

 should not allow Luminati to reference these rulings (or any other rulings adverse to Oxylabs) as

 such rulings will not have any relevance to any issues that the jury will decide.

 24.       Any attempt by Luminati to contradict the Court’s Claim Construction Opinion
           and Order (ECF No. 191) or its reasoning

           The Court’s claim construction opinion governs the meaning of the construed claim terms

 and the Court should not permit Luminati to make any argument or offer any evidence that con-

 tradicts the Court’s claim constructions or reasoning.5 For example, the Court rejected Lumina-

 ti’s claim construction argument that “client device” meant a “consumer computer” and further

 rejected Luminati’s argument that “a client device is specifically not a server[.]” ECF No. 191 at

 11 (emphasis added). The Court specifically contemplated that a “client device” could “act as a

 server” (id. at 12) and ultimately construed “client device” (with respect to the ’319 and ’510 pa-

 tents) as a “communication device that is operating in the role of a client” (id.) and (with respect

 to the ’614 patent) as a “device operating in the role of a client by requesting services, function-

 alities, or resources from the server” (id. at 15).6

           Similarly, in the co-pending Code200 case (involving a common specification), the

 Court’s Claim Construction Order “reiterate[d] and adopt[ed] the reasoning and ruling” of the

 Claim Construction Order in this case as to “client device.” Code200, ECF No. 97 at 13. The

       5
         Oxylabs notes that, in the co-pending Code200 case, the Court’s claim construction order
 states that “the parties should ensure that all testimony that relates to the terms addressed in this
 Order is constrained by the Court’s reasoning.” See Luminati v. Code200, 2:19-cv-00396-JRG
 (E.D. Tex.), ECF No. 97 at 37. Oxylabs respectfully requests that the Court adopt this same pro-
 vision in the instant case.
       6
         The Court also noted that “[c]lient, peer, agent, and server are roles a device can per-
 form” (ECF No. at 14 (emphases added))—which again constitutes a rejection of Luminati’s po-
 sition that a “client device” could not be a “server.” Additionally, the Court construed “second
 server” as a “server that is not the client device” (id.) and “first server” as a “server that is not the
 client device” (id. at 16)—if a “client device” could not be a server (as Luminati continues to
 maintain), then these constructions would not have been necessary.

                                                    11
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 Court rejected Luminati’s argument that a “client device” is a “consumer computer, such as a

 laptop, desktop, or smartphone” and “distinct from the ‘servers’ of the patents, which may en-

 compass devices such as server farms and data centers.” Id. at 11. The Court noted that Luminati

 had argued that “[t]here is a distinction between a client device acting as a server and a server”

 and ultimately rejected this argument stating that “the client device is defined by the role of the
                                                                                             ---
 communication device as a client rather than by the components of the device and regardless

 of any additional role the device may serve, including as a server.” Id. at 12, 13 (emphases

 added).

           Despite all of this, Luminati and its expert (Dr. Rhyne) still argue that a “client device” is

 “specifically not a server.” See Oxylabs’ Mot. for Summary Judgment of Invalidity, ECF No.

 277 at 2 (citing Dr. Rhyne’s testimony). The Court should preclude such testimony and argu-

 ment, as it is the direct opposite of the Court’s claim construction.




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 Dated: March 8, 2021                Respectfully submitted,



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                             CERTIFICATE OF CONFERENCE
         The undersigned certifies that he met and conferred with Luminati’s counsel, Robert
 Harkins, Esq. and Ronald Wielkopolski, Esq., on March 8, 2021, and that Luminati is opposed to
 the relief requested in the foregoing motion.



                                             STEVEN CALLAHAN



                                CERTIFICATE OF SERVICE
        The undersigned certifies that the foregoing document was filed electronically in compli-
 ance with Local Rule CV-5(a) on March 8, 2021. As such, this document was served on all
 counsel who are deemed to have consented to electronic service. Local Rule CV-5(a)(3)(A). The
 foregoing document has also been served on Luminati’s counsel, Sunny Cherian, Esq., by e-mail
 on March 8, 2021.



                                             .A-t.CL~
                                             STEVEN CALLAHAN



                     CERTIFICATE OF AUTHORIZATION TO SEAL
        The undersigned certifies that the foregoing pleading is filed under seal pursuant to the
 Court’s Protective Order.


                                             .A-t.CL~
                                             STEVEN CALLAHAN




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